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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA


  INRE:                                             CASE NO. 22-14766-SMG
                                                    CHAPTER13
RALPH LEVI SANDERS, JR.
----------'
                           OBJECTION TO CLAIM 3-1 and Claim 4-1

       Additional objections to claims 3-1 and 4-1.
         1. The tax returns for the years 2015 and 2016 are on file on the IRS
            website.
         2. Tax return 2015 is exhibit 1
         3. Tax return 2016 is exhibit 2
         4. Note that both returns are in IRS data layout format
         5. Debtor has been on Social Security since the year 2014
         6. The data fields for Social Security on both returns are blank.
         7. I recall the amount owed on both returns is $0.00
         8. From 2014 to 2016, events occurred that changed the category of the
            monies from taxable to non-taxable
         9. The events involved the following parties and lawsuits, including two
            discrimination actions.
         10. The non-social securities monies fall into the following as non-
            taxable for the following reasons from the IRS website and refer to 26
            U.S.C. § 104 with the definition of gross income and what is excluded
            as taxable.
         11. The following material will be used as a reference that monies are
            non-taxable. I am using my memory from the lawyers. I need a
            lawyer:
         12. EEOC ruling in favor of Debtor discrimination based on Religion and
            Disability "f,f
         13. Law firms: e'phraim Hess Employment and Discrimination. Attorneys
            Dell & Schaefer, a Chartered Disability law firm
         14. Psychiatrist Dr. Ramsey Pevsner and Psychologist Thomas Crum~~?,"'\
         15. Federal US District Court of South Florida: Case: 16-cv-60879-FAiv0
         16. To summarize the events,
          17.                  explains that all amounts from any source are included in gross income
                unless a specific exception exists. The two most common exceptions for damages are
                amounts paid for specific discrimination claims and amounts paid on physical injury.

          18.                  explains that gross income does not include damages received on
                account of personal physical injuries and physical injuries.

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          19.                       permits a taxpayer to exclude from gross income "the amount of
                any damages (other than punitive damages) received (whether by suit or agreement
                and whether as lump sums or as periodic payments) on account of personal injuries or
                physical sickness.

          2O.The Internal Revenue Service (IRS) issued Revenue Ruling 93-88, providing that
             damages (back pay and compensatory) received for disparate treatment
             discrimination under Title VII (post Civil Rights Act of 1991 ), 42 U.S.C. §§ 2000e -
             2000e-17, 42 U.S.C. §1981 and the Americans With Disabilities Act (ADA), 42
             U.S.C. §§12101-12213, were excluded from gross income under Section
             104(a)(2) as damages for personal injury .

          •••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
Claim No.       Name of Claimant     Amount of Claim   Basis for Objection and Recommended
                                                       Disposition
3-1           Department of the      $42,307.92        The creditor filed an unsecured priority
              Treasury - Internal                      claim in the amount of $14,677.32 for
              Revenue Service                          an untiled 2016 tax return. The Debtor
                                                       states that this return has been filed.
                                                       Sustain Objection and limited priority
                                                       claim to $214.88 for 2012 taxes owing.




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Served Upon;


Date: September 6, 2022
                                            Ralph L. Sanders Pro-Se
                                            561 S.W. 6Qth Ave.
                                            Plantation, Fl. 33317
                                            (954) 535-1131

                                            By: /s/ Ralph L. Sanders
                                               Ralph L. Sanders




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                                                                                                                    (. 'f lf t !JTTJ.1
■ Internal     Revenue Service
   United States Department of the Treasury

                               This Product Contains Sensitive Taxpayer Data

                                                                                                  Request Date: 09-27-2022
                                                                                                 Response Date: 09-27-2022
                                                                                             Tracking Number: 102669532751

                                                Wage and Income Transcript

                                                                                         SSN Provided: XXX-XX-6171
                                                                              Tax Period Requested:  December, 2015




                                            Form W-2 Wage and Tax Statement

 Employer:
  Employer Identification Number (EIN) :XXXXX2080
  SUN
  ONE SU

 Employee:
  Employee's Social Security Number:XXX-XX-6171
  RALP SAND
  561 SW

 Submission Type: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . • . . . . . • . . Original document
 Wages, Tips and Other Compensation: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $45,589.00
 Federal Income Tax Withheld: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
 Social Security Wages: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
 Social Security Tax Withheld: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00
 Medicare Wages and Tips: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00
 Medicare Tax Withheld: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00
 Social Security Tips: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00
 Allocated Tips: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
 Dependent Care Benefits: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00
 Deferred Compensation: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
 Code "Q" Nontaxable Combat Pay: .... ....................................... $0. 00
 Code "W" Employer Contributions to a Health Savings Account: . . . . . . . . . . . . . $0.00
 Code "Y" Deferrals under a section 409A nonqualified Deferred Compensation
 plan: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00
 Code "Z" Income under section 409A on a nonqualified Deferred Compensation
 plan: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00
 Code "R" Employer's Contribution to MSA: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00
 Code "S" Employer's Contribution to Simple Account: . . . . . . . . . . . . . . . . . . . . . . $0.00
 Code "T" Expenses Incurred for Qualified Adoptions: . . . . . . . . . . . . . . . . . . . . . . $0.00
 Code "V" Income from exercise of non-statutory stock options: ............. $0.00
 Code "AA" Designated Roth Contributions under a Section 401(k) Plan: ..... $0.00
 Code "BB" Designated Roth Contributions under a Section 403(b) Plan: ..... $0.00
 Code "DD" Cost of Employer-Sponsored Health Coverage: . . . . . . . . . . . . . . . . . . . . $0.00
 Code "EE" Designated ROTH Contributions Under a Governmental Section 457(b)
 Plan: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00
 Third Party Sick Pay Indicator: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Yes
 Retirement Plan Indicator: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Unanswered
 Statutory Employee: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Not Statutory Employee
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       Form 5498 Individual Retirement Arrangement Contribution Information

Trustee:
 Trustee/Issuer's Federal Identification Number (FIN):XXXXX2833
 SUNT
 PO BOX

Participant:
 Participant's Identification Number:XXX-XX-6171
 SAND RALP L
 561 SW

Submission Type: ...........•..•.•..•..•....•..........•.•.... Original document
Account Number (Optional): . . . • . . . . . . . . . . . . . . . . . . . . . . . • . . . . • . . . . . . . . . XXXXXX54T7
IRA Contributions: ..•.•..•.........•...•......•.•.....•.................. $0. 00
Rollover Contributions: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
Roth Conversion Amount: . • . . . • . . • . . . . • • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
Recharacterized Contributions: . . . . . . • . . . . . . . . . . . . . . . . . . . . . . • . . . . . . . . . . . . . $0. 00
Fair Market Value of Account: •••.......•.....••.•....•..•.•.............. $1.00
Life Insurance Cost Included in Box 1: . . . . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . $0.00
SEP Code: . . . • . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . • . . . . . . . . . . . . . . Not Checked
IRA Code: . • . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . • . . . . . . . . . . Checked
Simple Code: .........•••........•........•.........•.•••........... Not Checked
Roth IRA Code: . . . . . . . . . . • . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . • . . . Not Checked
RMD For Subsequent Year: . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . . RMD box not checked
RMD Date: . . . . . . • . . . . . . . . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 00-00-0000
Year: . . . . . . . . . . . . . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Postponed Contribution Code: . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . • . . . . . . . . . . .
Repayments Code: . . • • . . . . . . . . . . . . . . . . . . . . . . . . • . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . .
SEP Contributions: . • . . . . . . . . . • . . . . . . . . . . . . . . . . . . • . . . . . . . . . . . • • . . . . . • . . . . . $0. 00
SIMPLE Contributions: ...•...•....•..••.•..•...••......................... $0. 00
Roth IRA Contributions: . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . • . . . . • . . . . . . . . $0. 00
Required Minimum Distribution Amount: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
Postponed Contributions: . . . . . . • . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
Repayment of a qualified reservist distribution or federally designated
disaster withdrawal repayment: ...•.••.••...........•.................•... $0. 00




       Form 5498 Individual Retirement Arrangement Contribution Information

Trustee:
 Trustee/Issuer's Federal Identification Number (FIN):XXXXX7782
 CHAR
 211 MA

Participant:
 Participant's Identification Number:XXX-XX-6171
 RALP L SAND
 561 SW

Submission Type: • . . . . • . . . • . . . . . . . . . . . . . . . . . • . . . . . . . . . . • . . . . . . Original document
Account Number (Optional): . . . • . . . . . . . . • . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . XXXX9312
IRA Contributions: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
Rollover Contributions: . . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . • . . $0. 00
Roth Conversion Amount: . . . . . . . . . . • . . • . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
Recharacterized Contributions: . . . . • . . . . . . . . . . . • . . . . . . . . • . . . . . . . . • . . . . . . . . $0. 00
Fair Market Value of Account: .•••.••....•.............••.•.•......... $9,670.00
Life Insurance Cost Included in Box 1: . . . . . . . . . . . . . . . . . . . . . . • . . . . . . . . . . . . $0.00
SEP Code: ....••.......•....•.....•..•..•................•.........• Not Checked
IRA Code: ........••..•.•.•.••.•....•.•......•..................•....... Checked
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Simple Code: •..•.••..•..•........•.....•................•.......... Not Checked
                                                                                                     Page 6 of 21
                                                                                                                                           I->
Roth IRA Code: .•.................•..•........•..•....•....•........ Not Checked
RMD For Subsequent Year: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . • . RMD box not checked
RMD Date: . . . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 00-00-0000
Year: .......••••..•..•.••.....••.•..•..•......•.•......•..•.•....... •.••.•
Postponed Contribution Code: •...........•..........•..........•......•
Repayments Code: ...•....•..•.......................••..•.......•............
SEP Contributions: .......•.••.•....•...•......•........•.......•......... $0.00
SIMPLE Contributions: •..•...•.•.••.•••.....••...•......••..•.•..•........ $0. 00
Roth IRA Contributions: .••...........•.•...............••....•........... $0. 00
Required Minimum Distribution Amount: ....•.•....•.•..•.....•..•.......... $0.00
Postponed Contributions: •..•..••.•.••.••..••••..•..•...•..•.•............ $0. 00
Repayment of a qualified reservist distribution or federally designated
disaster withdrawal repayment: •........•.......•..••.....•.....•......... $0.00




                                    Form 1098 Mortgage Interest Statement

Recipient/Lender:
 Recipient's Federal Identification Number (FIN):XXXXX7393
 WELL
 1 HOME

Payer/Borrower:
 Payer's Social Security Number:XXX-XX-6171
 RALP L SAND
 561 SW

Submission Type: .••..•.••.....•....••.••..•.•.•...••.••.•.... Original document
Account Number (Optional): ..•........•••..•.....•...•...•.......• XXXXXXXXX9122
Mortgage Interest Received from Payer(s)/Borrower(s) : ......•...•.•.. $13,809.00
Points Paid on Purchase of Principal Residence: .....•..•.•..•..••........ $0.00
Refund of Overpaid Interest: •....•...•...•....•..•......•••.•............ $0. 00



                                        Form SSA-1099 Benefits Statement

Payer:
 Payer's Federal Identification Number (FIN):XXXXX4813
 SOCI

Payee:
 Payee's Identification Number:XXX-XX-6171
 RALP L SAND
 561 SW


Submission Type: •••..•.•...•..•.•...•...........•..•..•.•...• Original document
Account Number (Optional): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . • . . . . • . . . . . . . . . . . . N/A
Pensions and Annuities (Total Benefits Paid): •........•............. $42,196.00
Tax Withheld: . . . . . • . . • . . . . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . • . . . . . . . . . . . 0. 00
Repayments: . . . . . . . . . • . . . • . • . . . . . . . . . . . . . . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . 0. 00
Workman's Compensation Offset: . . . . . . • . . . . . . . . . • . . . . . • . . . . . . . . . . . . . . . . . . . . . O. 00
TY 2014 Payments: . . . . . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . • . . • . . . . . • . . . . . . $13,902.00
TY 2013 Payments: .•..•..•.••..•....•...•.....•..........•...............•. 0.00
TY 2012 Payments: . . . . . . . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 0.00
TY 2011 Payments: . • . . . . . . . . . . . • . . . . . . . . . . • . . . . • . . . . . . . . . . . . . . . . • . . . . . . . . . . 0.00
Trust Fund Indicator: ...............••.............•.•........••.... Disability
SSA/RRB Payments: •...•..•......•..•.••...•....•.•... Either RRB or SSA payments
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                                   Form 1099-INT

  Payer:
   Payer's Federal Identification Number (FIN) :XXXXX8424
  us
   1111 C

 Recipient:
  Recipient's Identification Number:XXX-XX-6171
  RALP L & VIRP DEC SAND
  561 SW

 Submission Type: ............................................. Original document
 Account Number (Optional): ................................................... .
 Interest: ............................................................... $18. 00
 Tax Withheld: ............................................................ $0.00
 Savings Bonds: ........................................................... $ 0 . 0 0
 Investment Expense: ...................................................... $0. 00
 Interest Forfeiture: ..................................................... $0.00
 Foreign Tax Paid: ........................................................ $0. 00
 Tax-Exempt Interest: ..................................................... $0. 00
 Specified Private Activity Bond Interest: .........................•...... $0.00
 Market Discount: .......................................•................. $0.00
 Bond Premium: ............................................................ $0.00
 Bond Premium on Tax Exempt Bond: ......................................... $0.00
 Second Notice Indicator: ...................................... No Second Notice
 Foreign Country or US Possession: ............................................ .
 CUSIP Number: .................................................... XXXXXXXXX0000
 FATCA Filing Requirement: ..•............. Box not checked no Filing Requirement




Form 1099-R Distributions from Pensions, Annuities, Retire or     Profit-Sharing Plan

  Payer:
   Payer's Federal Identification Number (FIN) :XXXXX7782
  CHAR
   211 MA

 Recipient:
  Recipient's Identification Number:XXX-XX-6171
  RALP L SAND
  561 SW

 Submission Type: ............................................. Original document
 Account Number (Optional): ............................................ XXXX9312
 Distribution Code Value: ................................... Normal distribution
 Distribution Code: ........................................................... 7
 Distribution Code Value: ....................................... Not significant
 Distribution Code: ....................................................... Blank
 Tax Amount Undetermined Code: ........................ Tax amount not determined
 Total Distribution Code: ........................................... Not checked
 First Year Roth Contribution: ............................................. 0000
 SEP Indicator: ........................................ IRA/SEP/SIMP box checked
 Tax Withheld: ............................................................ $0. 00
 Total Employee Contributions: ............................................ $0. 00
 Unrealized Appreciation: ................................................. $0. 00
 Other Income: ............................................................ $0. 00
 Gross Distribution: ................................................. $36, 750.00
 Taxable Amount: ..................................................... $36,750.00
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Eligible Capital Gains: . . . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
Amount to IRR: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . . $0.00



                            This Product Contains Sensitive Taxpayer Data
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fil Internal Revenue Service
      United States Department of the Treasury

                   This Product Contains Sensitive Taxpayer Data

                                                                Request Date: 10-06-2022
                                                               Response Date: 10-06-2022
                                                           Tracking Number: 102728565511

                               Wage and Income Transcript

                                                             SSN Provided: XXX-XX-6171
                                                  Tax Period Requested: December, 2016




                            Form W-2 Wage and Tax Statement

 Employer:
  Employer Identification Number (EIN) :XXXXX2080
  SUN
  ONE SU

 Employee:
  Employee's Social Security Number:XXX-XX-6171
  RALP SAND
  561 SW

 Submission Type: ............................................. Original document
 Wages, Tips and Other Compensation: ................................. $35,000.00
 Federal Income Tax Withheld: ............................................. $0.00
 Social Security Wages: ................................................... $0. 00
 Social Security Tax Withheld: ............................................ $0.00
 Medicare Wages and Tips: .•............................................... $0. 00
 Medicare Tax Withheld: ................................................... $0. 00
 Social Security Tips: .................................................... $0. 00
 Allocated Tips: .......................................................... $0. 00
 Dependent Care Benefits: ................................................. $0. 00
 Deferred Compensation: ................................................... $0. 00
 Code "Q" Nontaxable Combat Pay: .......................................... $0.00
 Code "W" Employer Contributions to a Health Savings Account: ............. $0.00
 Code "Y" Deferrals under a section 409A nonqualified Deferred Compensation
 p 1 an : .................................................................... $ 0 . 0 0
 Code "Z" Income under section 409A on a nonqualified Deferred Compensation
 plan: .................................................................... $0.00
 Code "R" Employer's Contribution to MSA: ................................. $0.00
 Code "S" Employer's Contribution to Simple Account: ...................... $0.00
 Code "T" Expenses Incurred for Qualified Adoptions: ...................... $0.00
 Code "V" Income from exercise of non-statutory stock options: ............ $0.00
 Code "AA" Designated Roth Contributions under a Section 401(k) Plan: ..... $0.00
 Code "BB" Designated Roth Contributions under a Section 403(b) Plan: ..... $0.00
 Code "DD" Cost of Employer-Sponsored Health Coverage: .................... $0.00
 Code "EE" Designated ROTH Contributions Under a Governmental Section 457(b)
 P1 an : .................................................................... $ 0 . 0 0
 Third Party Sick Pay Indicator: ............................................ Yes
 Retirement Plan Indicator: .......................................... Unanswered
 Statutory Employee: ..................................... Not Statutory Employee
 W2 Submission Type: ................................................... Original
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       Form 5498 Individual Retirement Arrangement Contribution Information

Trustee:
 Trustee/Issuer's Federal Identification Number (FIN) :XXXXX2833
 SUNT
 PO BOX

Participant:
 Participant's Identification Number:XXX-XX-6171
 SAND RALP L
 561 SW

Submission Type: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Original document
Account Number (Optional): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . XXXXXX04Tl
IRA Contributions: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
Rollover Contributions: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
Roth Conversion Amount: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
Recharacterized Contributions: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00
Fair Market Value of Account: . . . . . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . $1.00
Life Insurance Cost Included in Box 1: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00
SEP Code: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Not Checked
IRA Code: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Checked
Simple Code: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Not Checked
Roth IRA Code: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Not Checked
RMD For Subsequent Year: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . RMD box not checked
RMD Date: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 00-00-0000
Year: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Postponed Contribution Code: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Repayments Code: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fair Market Value of certain specified assets: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . N/A
SEP Contributions: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
SIMPLE Contributions: . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
Roth IRA Contributions: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
Required Minimum Distribution Amount: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00
Postponed Contributions: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
Repayment of a qualified reservist distribution or federally designated
disaster withdrawal repayment: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
Fair Market Value of Certain Specified Assets: . . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00




                                    Form 1098 Mortgage Interest Statement

Recipient/Lender:
 Recipient's Federal Identification Number (FIN) :XXXXX7393
 WELL
 1 HOME

Payer/Borrower:
 Payer's Social Security Number:XXX-XX-6171
 RALP L SAND
 561 SW

Submission Type: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Original document
Account Number (Optional): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . XXXXXXXXX9122
Mortgage Interest Received from Payer(s)/Borrower(s) : . . . . . . . . . . . . . . . $12,227.00
Points Paid on Purchase of Principal Residence: . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00
Refund of Overpaid Interest: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0. 00
               Case 22-14766-SMG     Doc 41   Filed 10/07/22   Page 11 of 21
 Outstanding Mortgage Principle: .................................... $279,459.00
 Mortgage Origination Date: .......................................... 04-11-2005
 Property Address Verification: ............................................... .
 Address of property securing Mortgage: .................................. 561 SW
 Description of Property: ..................................................... .
 Other information from recipient: ............................................ .



                         Form SSA-1099 Benefits Statement

 Payer:
  Payer's Federal Identification Number (FIN) :XXXXX4813
  SOCI

 Payee:
  Payee's Identification Number:XXX-XX-6171
  RALP L SAND
  561 SW


 Submission Type: .............•............................... Original document
 Account Number (Optional): ................................................. N/A
 Pensions and Annuities (Total Benefits Paid) : ....................... $28,301.00
 Tax Withheld: ............................................................. 0. 00
 Repayments: ............................................................... 0. 00
 Workman's Compensation Offset: ............................................ 0. 00
 TY 2015 Payments: ......................................................... 0.00
 TY 2014 Payments: ......................................................... 0.00
 TY 2013 Payments: ......................................................... 0.00
 TY 2012 Payments: ......................................................... 0.00
 Trust Fund Indicator: ............................................... Disability
 SSA/RRB Payments: ................................... Either RRB or SSA payments



Form 1099-R Distributions from Pensions, Annuities, Retire or        Profit-Sharing Plan

 Payer:
  Payer's Federal Identification Number (FIN) :XXXXX7782
  CHAR
  9800 S

 Recipient:
  Recipient's Identification Number:XXX-XX-6171
  RALP L SAND
  561 SW

 Submission Type: ............................................. Original document
 Account Number (Optional) : ............................................ XXXX9312
 Distribution Code Value: ................................... Normal distribution
 Distribution Code: ........................................................... 7
 Distribution Code Value: ....................................... Not significant
 Distribution Code: ....................................................... Blank
 Tax Amount Undetermined Code: ........................ Tax amount not determined
 Total Distribution Code: ........................................... Not checked
 First Year Roth Contribution: ............................................. 0000
 SEP Indicator: ........................................ IRA/SEP/SIMP box checked
 FATCA Indicator: ..................................................... not FATCA
 Tax Withheld : ............................................................ $ 0 . 0 0
 Total Employee Contributions: ............................................ $0. 00
 Unrealized Appreciation: ...........•..................................•.. $0. 00
                       Case 22-14766-SMG                  Doc 41         Filed 10/07/22          Page 12 of 21
Gross Distribution: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $9,670.00
Taxable Amount: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $9,670.00
Eligible Capital Gains: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . $0. 00
Amount to IRR: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . $0.00



                            This Product Contains Sensitive Taxpayer Data
                       Case 22-14766-SMG Doc 41 Filed 10/07/22 Page 13 of 21
          Case 0:16-cv-60879-FAM Document 1-1 Entered on FLSD Docket 04/21/2016 Page 1 of 1
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of uutJatmg the etvil docket sheet. !SEE INSTkUCTTONS ON NErr PAGE OF THIS FORMJ NOTICE: Attoi:,m MUST ladicate AD Re-tiled Can Belew.
I. (a)       PLAINTIFFS RALPH SANDERS                                                                              DEFENDANTS SUN LIFE ASSURANCE COMP ANY OF


    (b) County of Residence of First Listed Plaintiff Broward Cowity
                                                                                                                                        CANADA

                                                                                                                   County of Residence of Fim Listed Defendant
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    ( C) Attorneys (Finn       N-.
                          Addnr.u, and Telepl,oM N-,,.r)                                                           Attorneys (If X-n)
    Stephen F. Jessup, Dell & Schaefer, Chartered, 2404 Hollywood Blvd,
    Hollywood, Florida 33020; (954) 620-8300
(d)CheckCountyWhereActionAr09e:                    □     MIAl\41-DADE   □ MOMIOE      ,i5   BROWl,RD 0P"1.MB£.\CH CMAllTlN OST.LUCIE OINl>L\NIUVER OOKEl:CIIOBEI! QIIIGHLl,IIDS


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         COMPLAINT:                               UNDER F.R.C.P. 23                                                                                    JURY DEMAND:         □ Yes       No        f
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            Case 22-14766-SMG Doc 41 Filed 10/07/22 Page 14 of 21
Case 0:16-cv-60879-FAM Document 1 Entered on FLSD Docket 04/21/2016 Page 1 of 6




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


 RALPH SANDERS,

        Plaintiff,
 vs.

 SUN LIFE ASSURANCE COMPANY OF
 CANADA,

        Defendant.


                                           COMPLAINT

        The Plaintiff, Ralph Sanders ("SANDERS"), by and through the undersigned counsel,

 hereby sues Sun Life Assurance Company of Canada and alleges:

                                PRELIMINARY ALLEGATIONS

         1.     "Jurisdiction" -This action is brought under 29 U.S.C. §§ 1132(a), (e), (f) and (g)

 of the Employee Retirement Income Security Act of 1974 (hereinafter "BRISA") as it involves a

 claim by a Plaintiff for employee benefits under and employee benefit plan regulated and

 governed under BRISA Jurisdiction is predicated under these code sections as well as 28 U.S.C.

 § 1331 as this action involves a federal question. This action is brought for the purpose of

 recovering benefits under the terms of an employee benefit plan, and to clarify Plaintiffs rights

 under the employee benefit plan administered and funded by the Defendant. Plaintiff seeks relief,

 including, but not limited to, payment of benefits, pre-judgment and post-judgment interest,

 reinstatement of plan benefits at issue herein, and attorney's fees and costs.

        2.      SANDERS was at all times relevant a plan participant under the Temenos USA
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 Inc. Group Term Insurance Policy, Policy No.: 212290 (''LTD" Plan). 1

            3.      Defendant, SUN LIFE, is a corporation with its principal place of business in the

 State of Massachusetts, authorized to transact and transacting business in the Southern District of

 Florida. SUN LIFE is the insurer of benefits under the Temenos USA Inc. LTD Plan and acted

 in the capacity of a plan administrator. As the decisionmaker and payor of plan benefits, SUN

 LIFE administered the claim with a conflict of interest and the bias this created affected the

 claims determination.

            4.      The SUN LIFE LTD Plan is an employee welfare benefit plan regulated by

 BRISA, established by Temenos USA Inc. under which SANDERS was a participant, and

 pursuant to which SANDERS is entitled to Long Term Disability benefits ("LTD benefits").

            5.      Pursuant to the terms and conditions of the LTD Plan, SANDERS is entitled to

 LTD benefits for the duration of the Plaintiff's disability, for so long as SANDERS remains

 disabled as required under the terms and conditions of the LTD Plan.

            6.      Venue is proper in this district under 29 U.S.C. l 132(e)(2), in that defendant,

 SUN LIFE, is authorized to and is doing business within the Southern District of Florida and

 SANDERS is a resident of Broward County, Florida.

    CLAIM FOR BENEFITS, ENFORCEMENT AND CLARIFICATION OF RIGHTS,
  PREJUDGMENT AND POSTJUDGMENT INTEREST AND ATTORNEY'S FEES AND
                COSTS PURSUANT TO 29 U.S.C. §1132(a)(1)(B)

            7.      SANDERS incorporates by reference all preceding paragraphs as though fully set

 forth herein.

            8.      At all times relevant, SANDERS was an employee or former employee of

 Temenos USA Inc. and a plan participant under the terms and conditions of the LTD Plan.

            9.      During the course of SANDERS 's employment, SANDERS became entitled to
 1
     A copy of the LTD Plan is attached as Exhibit "A"
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Case 0:16-cv-60879-FAM Document 1 Entered on FLSD Docket 04/21/2016 Page 3 of 6




 benefits under the terms and conditions of the LTD Plan. Specifically, while SANDERS was

 covered under the LTD Plan, SANDERS suffered a disability as a result of a Sickness as defined

 by the policy, rendering him disabled as defined under the terms of the LTD Plan. Due to

 concerns of privacy, the nature of his disabling condition is discussed in detail within the

 administrative record.

         10.     SANDERS worked for Temenos m his capacity as a Data Migration

 Coordinator/fechnical Consultant.

         11.     Disability is defined under the LTD Plan to mean the Employee, because of Injury

 or Sickness, is (1) unable to perform the material and substantial duties of his own occupation

 and (2) is not engaged in any occupation for wage or profit.

         12.     Material and Substantial Duties means, but is not limited to, the essential tasks,

 functions, skills or responsibilities required by employers for the performance of the Employee's

 Own Occupation. Material and Substantial Duties does not include any tasks, functions, skills or

 responsibilities that could be reasonably modified or omitted from the Employee's Own

 Occupation.

         13.     Own Occupation means the usual and customary employment, business, trade,

 profession or vocation that the Employee performed as it is generally recognized in the national

 economy immediately prior to the first date Total or Partial Disability began. Own Occupation is

 not limited to the job or position the Employee performed for the Employer or performed at any

 specific location.

         14.     The LTD Plan also contains 24 month limitations on LTD benefits for disabilities

 caused by Mental Illness and Musculoskeletal and Connective Tissue Illness.

         15.    Pursuant to the terms of the LTD Plan, SANDERS notified SUN LIFE of him
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 intent to file a claim for long term disability benefits with an effective date of disability of

 August 29, 2013, with an effective date of disability following the 180 day elimination period

 under the LTD plan of March 5, 2014.

         16.     SUN LIFE initially denied SANDERS' claim for LTD benefits on August 12,

 2014, due to a lack of medical support and Temenos's failure to provide necessary information.

         17.    Through counsel SANDERS appealed this adverse determination on December

 15, 2014.

         18.    On January 21, 2015, SUN LIFE approved benefits for a limited time through

 August 31, 2014, and notified SANDERS that his benefits beyond that date were subject to

 further review of additional updated medical records from September 1, 2014 forward.

         19.    Following additional review of medical information SUN LIFE advised

 SANDERS on May 18, 2015, that claim for benefits was only approved through January 12,

 2015, and denied the remainder of his claim.

        20.     On November 13, 2015, SANDERS properly appealed this adverse determination.

        21.     On January 12, 2016, SUN LIFE notified SANDERS that it was upholding the

 denial of his claim for benefits.

        22.     SANDERS has exhausted his administrative remedies.

        23.     SUN LIFE breached the LTD Plan and violated ERISA in the following respects:

                a. Failing to pay LTD benefits to SANDERS at a time when SUN LIFE and the

                    LTD Plan knew, or should have known, that Plaintiff was entitled to those

                    benefits under the terms of the LTD Plan, as SANDERS was disabled and

                    unable to work and therefore entitled to benefits.

                b. After SANDERS's claim was denied in whole or in part, SUN LIFE failed to
             Case 22-14766-SMG Doc 41 Filed 10/07/22 Page 18 of 21
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                    adequately describe to SANDERS any additional material or information

                    necessary for SANDERS to perfect his claim along with an explanation of

                    why such material is or was necessary.

                c. SUN LIFE failed to properly and adequately investigate the merits of

                    SANDERS's disability claim and failed to provide a full and fair review of

                    SANDERS's claim at the time of the initial termination of benefits.

        24.     SANDERS believes and alleges that SUN LIFE wrongfully denied his claim for

 LTD benefits under the LTD Plan by other acts or omissions of which SANDERS is presently

 unaware, but which may be discovered in this future litigation and which SANDERS will

 immediately make SUN LIFE aware of once said acts or omissions are discovered by

 SANDERS.

        25.     As a proximate result of the aforementioned wrongful conduct of SUN LIFE

 under the LTD Plan, SANDERS has damages for loss of disability benefits in a total sum to be

 shown at the time of trial.

        26.     As a further direct and proximate result of this improper determination regarding

 SANDERS's claim for benefits, SANDERS, in pursuing this action, has been required to incur

 attorney's fees and costs. Pursuant to 29 U.S.C. § 1132(g)(l), SANDERS is entitled to have

 such fees and costs paid by SUN LIFE.

        27.     The wrongful conduct of SUN LIFE has created uncertainty where none should

 exist; therefore, SANDERS is entitled to enforce his rights under the terms of the LTD Plan and

 to clarify his rights to future benefits under the LTD Plan.

                                     REQUEST FOR RELIEF

        WHEREFORE, Ralph Sanders prays for relief against Sun Life Assurance Company of
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Case 0:16-cv-60879-FAM Document 1 Entered on FLSD Docket 04/21/2016 Page 6 of 6




 Canada as follows:

         1.     Payment of disability benefits due Plaintiff;

        2.      An order declaring that Plaintiff is entitled to immediate reinstatement to the LTD

 Plan with all ancillary benefits to which he is entitled by virtue of his disability, and that benefits

 are to continue to be paid under the LTD Plan for so long as Plaintiff remains disabled under the

 terms of the LTD Plan;

        3.      In the alternative to the relief sought in paragraphs 1 and 2, an order remanding

 Plaintiffs claim to the claims administrator to the extent any new facts or submissions are to be

 considered;

        4.      Pursuant to 29 U.S.C. § 1132(g), payment of all attorney's fees and costs incurred

 in pursuing this action;

        5.      Payment of prejudgment and post-judgment interest as allowed for under ERISA;

 and

        6.      Such other and further relief as this Court deems just and proper.

 DATED: April 21, 2016.

                                                ATTORNEYS DELL AND SCHAEFER,
                                                CHARTERED
                                                Attorneys for Plaintiff
                                                2404 Hollywood Boulevard
                                                Hollywood, FL 33020
                                                Telephone: (954) 620-8300

                                                  Isl Stephen F. Jessup
                                                STEPHEN F. JESSUP, ESQUIRE
                                                Florida Bar No.: 0026264
                                                Email: stephen@diattorney.com
                                              Case 22-14766-SMG                              Doc 41            Filed 10/07/22                 Page 20 of 21



                                 CHARGE OF DISCRIMINATION                                                                    Charge Presented To:                     Ag~cy(ies) Charge No(s):
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                                                                     Florida Commission On Human Relations                                                                            and EEOC
                                                                                             State or local Agency, if any

            Name (indicate Mt. Ms.. Mrs.i                                                                                               Home Phone (Incl. Area Codei                Date of Birth

            Mr. Ralph L. Sanders                                                                                                           (954) 701-7097                             1954
            ~-dress                                                                                 City. State and ZIP Code

            561 S.W. 60th Ave, Plantation, FL 33317
    I
    I
i
,
            Named is the Employer. Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
            Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
             Name                                                                                                                       No. Employees t.,fomt.>t-rs     Phone No {Include Area Code}

            TEMENOS                                                                                                                        Unknown                         (610) 232-2800
            Street Address                                                                          City, State and ZIP Cooe

            40 General Warren Blvd, Malvern, PA 19355

        \   DISCR!MINA TION     s,,sF.D ON (Chee/, appropria/,;, i'lCX(es)._!                                                                     DA,Tl:{Si DISCRtMINAT'ION TOOK PLACE
                                                                                                                                                          Eartiest               Latest

              □ RACE □ COLOR   □                                                  0      RELIGION         0        NATIONAL ORIGIN                    08-01-2013                  08-01-2013
                                                                     m
                                                                     SEX

               □ RETALIATION □ AGE                                              DISABILITY          □       GENETIC INFORIViATION

                             □      OTHER (Specify)                                                                                                         □         CONTINUING ACTION

             THE PARTICULARS ARE /if additional paper is needed. attach extra shee/1s)):
              I. I am a Disabled Jewish individual. I was hired by the above mentioned company on or about 2001
              as a Data Migration Coordinator, until I was terminated on or about August 2013. On or about 2012, I
              was instructed to work in Saudi Arabia on a Business Visa (which is illegal as per the US State
              Department and the Saudi Government), instead of on a Work Permit, and I told my employer that I
              could not go to work on Saudi Arabia because they are a very anti-semitic country. On August 2013 I
              was instructed to attend but could not go to a conference in Orlando, Florida due to my disability.

              II. I was given several reasons for my termination by different HR Directors. Some of them were that:
              In 20131 was told that the position was eliminated; In September 2013 I was told that I was terminated
              due to performance; in 2017 I was told that I was terminated for being late for phone calls, behavior
              and projects not being on time; in late 2017 the motion for summary judgement stated that I was
              terminated due to not attending the Orlando meeting, and because I did not go to work in Saudi
              Arabia.

              Ill. I believe that I am being discriminated against because of my national origin, Jewish, in violation
              of Title VII of the Civil Rights Act of 1964, as amended. I also believe that I am being discriminated
              against because of my disability, in violation of the Americans with Disability Act of 1990, Titles I and
              V as amended.

             I want this charge filed with both the EEOC and the State or local Agency. if ,my. I              l   NOTARY - When necessa,y for State and Local Agency Reoui,-ements
             ~1,ilf ad\lise the agencies if I change my address or phone number and I w,11
             cooperate fully with them in the processing of my charge in accordance with their
             procedures.                                                                                           I swear or affirm that I have read the above charge and that it is true to




                                              w/1/
             I deciare under penalty of perjury that the above is true and correct.                                the best of my knowledge. information and belief.
                                                                                                                   SIGNATURE OF COMPLAINANT




                     see 04, 2018             /           .      ,     ~ - 1_ _-    ~                              SUBSCRIBED AND SWORN TO BEFORE !\IE THIS DATE
                                                                                                                   (month. day_ yeatj

                         Date                                   Charging Party Signatt11tJ
                         Case 22-14766-SMG           Doc 41    Filed 10/07/22    Page 21 of 21

CP Enclosure with EEOC F0tm 5 (11/09)


PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request
personal data and its uses are:

1.     FORM NUMBER/TITLE/DATE.              EEOC Form 5, Charge of Discrimination (11/09).

2.     AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626. 42 U.S.C. 12117, 42 U.S.C. 2000ff-6.

3.    PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to
writing (whether later recorded on this form or not) are, as applicable under the EEOC anti-
discrimination statutes (EEOC statutes), to preserve private suit rights under the EEOC statutes,
to invoke the EEOC's jurisdiction and, where dual-filing or referral arrangements exist, to begin
state or local proceedings.

4.    ROUTINE Uses. This form is used to provide facts that may establish the existence of matters
covered by the EEOC statutes (and as applicable, other federal, state or local laws). Information
given will be used by staff to guide its mediation and investigation efforts and, as applicable, to
determine, conciliate and litigate claims of unlawful discrimination. This form may be presented to
or disclosed to other federal, state or local agencies as appropriate or necessary in carrying out
EEOC's functions. A copy of this charge will ordinarily be sent to the respondent organization
against which the charge is made.

5.    WHETHER DISCLOSURE IS MANDATORY; EFFECT OF Nor GIVING INFORMATION. Charges must be
reduced to writing and should identify the charging and responding parties and the actions or
policies complained of. Without a written charge, EEOC will ordinarily not act on the complaint.
Charges under Title VII, the ADA or GINA must be sworn to or affirmed (either by using this form
or by presenting a notarized statement or unsworn declaration under penalty of perjury); charges
under the ADEA should ordinarily be signed. Charges may be clarified or amplified later by
amendment. It is not mandatory that this form be used to make a charge.

                             NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges
with EEOC will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be
first handled by a FEPA under worksharing agreements. You will be told which agency will handle
your charge. When the FEPA is the first to handle the charge, it will notify you of its final
resolution of the matter. Then, if you wish EEOC to give Substantial Weight Review to the FEPA's
final findings, you must ask us in writing to do so within 15 days of your receipt of its findings.
Otherwise, we will ordinarily adopt the FEPA's finding and close our file on the charge.

                                        NOTICE OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if retaliation is
taken against you or others who oppose discrimination or cooperate in any investigation or
lawsuit concerning this charge. Under Section 704{a) of Title VII, Section 4(d) of the ADEA,
Section 503(a) of the ADA and Section 207(f) of GINA, it is unlawful for an employer to
discriminate against present or former employees or job applicants. for an employment agency to
discriminate against anyone, or for a union to discriminate against its members or membership
applicants. because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified. assisted, or participated in any manner in an investigation,
proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and Section
503(b) of the ADA prohibits coercion, intimidation, threats or interference with anyone for
exercising or enjoying, or aiding or encouraging others in their exercise or enjoyment of, rights
under the Act.
